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                                                                        Docket #1528 Date Filed: 12/08/2020




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 Counsel for Highland Capital Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland Income Fund, NexPoint
 Strategic Opportunities Fund, and NexPoint Capital, Inc.

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                    )
 In re:                                             )      Chapter 11
                                                    )
 HIGHLAND CAPITAL MANAGEMENT, L.P.                  )      Case No. 19-34054 (SGJ11)
                                                    )
          Debtors.                                  )      (Jointly Administered)
                                                    )
                                                    )

                MOTION FOR ORDER IMPOSING TEMPORARY
             RESTRICTIONS ON DEBTOR’S ABILITY, AS PORTFOLIO
          MANAGER, TO INITIATE SALES BY NON-DEBTOR CLO VEHICLES

          Highland Capital Management Fund Advisors, L.P. (“HCMFA”) and NexPoint

 Advisors, L.P. (“NexPoint”, and together with HCMFA, the “Advisors”), and Highland

 Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc. (together, the




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 “Funds”), by and through their undersigned counsel, hereby submit this motion for an order of

 the Court under Bankruptcy Code §§ 105(a), 363, and 1107 imposing temporary restrictions on

 Highland Capital Management, L.P.’s (the “Debtor”) ability to initiate sales as portfolio

 manager (or other similar capacity) for certain non-debtor investment vehicles (the “CLOs”).

 In support of the Motion, the Funds and Advisors submit the Declaration of Dustin Norris (the

 “Declaration”) attached hereto and state as follows:

                                       BACKGROUND

          A.     General Background on the Advisors and their Advised Funds

          1.     Each Advisor is registered with the U.S. Securities and Exchange Commission

 (“SEC”) as an investment advisor under the Investment Advisers Act of 1940, as amended (the

 “Advisers Act”).

          2.     Each of the Advisors advises several funds, including the Funds. Each of the

 Funds is a registered investment company or business development company under the

 Investment Company Act of 1940 (as amended, the “1940 Act”).

          3.     As an investment company or business development company, each Fund is

 overseen by a majority independent board of trustees subject to 1940 Act requirements. That

 board reviews and approves contracts with one of the Advisors for the respective Fund. The

 Funds do not have employees. Instead, each Fund relies on its respective Advisor, acting

 pursuant to advisory agreements, to provide the services necessary to the Fund’s operations.

          B.     The CLOs

          4.     The CLOs are Aberdeen Loan Funding, Ltd., Brentwood CLO, Ltd., Eastland

 CLO, Ltd., Gleneagles CLO, Ltd., Grayson CLO, Ltd., Greenbriar CLO, Ltd., Jasper CLO, Ltd.,

 Liberty CLO, Ltd., Red River CLO, Ltd., Rockwall CDO, Ltd., Rockwall CDO II Ltd.,




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 Southfork CLO, Ltd., Stratford CLO Ltd., Loan Funding VII, LLC, and Westchester CLO, Ltd.

          5.     The CLOs are securitization vehicles formed to acquire and hold pools of debt

 obligations. They also issued various tranches of notes and preference shares, which are

 intended to be repaid from proceeds of the subject CLO’s pool of debt obligations. The notes

 issued by the CLOs are paid according to a contractual waterfall, with the value remaining in

 the CLO after the notes are fully paid flowing to the holders of the preference shares.

          6.     The CLOs were created many years ago. Most of the CLOs are, at this point,

 past their reinvestment period and have paid off all the tranches of notes or, in a few instances,

 all but the last and most junior tranche. Accordingly, most of the economic value remaining in

 the CLOs, and all of the upside, belongs to the holders of the preference shares. The repayment

 status of the notes in the CLOs as of November 2020 is shown on Exhibit A to the Declaration,

 and the Funds’ collective ownership of the preference shares is shown on Exhibit B to the

 Declaration. As shown on Exhibit B, the Funds hold a majority of the preference shares in three

 of the CLOs, Grayson CLO, Ltd., Greenbriar CLO, Ltd., and Stratford CLO Ltd., and material

 interests in most of the other CLOs.

          7.     The CLOs have each separately contracted for the Debtor to serve as the CLO’s

 portfolio manager. 1 In this capacity, the Debtor is responsible, among other things, for making

 decisions to sell the CLOs’ assets. Although the portfolio management agreements vary, the

 agreements generally impose a duty on the Debtor when acting as portfolio manager to

 maximize the value of the CLO’s assets for the benefit of the CLO’s noteholders and preference



 1
  The title given to the Debtor by the CLOs varies from CLO to CLO based on the relevant
 agreements, but the Debtor has the same general rights and obligations for each CLO. In this
 Motion, the Funds and Advisors have used the term “portfolio manager” when referring to the
 Debtor’s role for each CLO regardless of the precise title in the underlying documents.


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 shareholders.

          C.     The Operating Protocols

          8.     As part of the resolution of certain disputes between the Debtor and the Official

 Committee of Unsecured Creditors (the “Committee”), the Debtor is operating under the

 restrictions and provisions of certain operating protocols (the “Operating Protocols”) approved

 by the Court. See Notice of Debtor’s Amended Operating Protocols (Docket No. 466). Among

 other things, the Operating Protocols include provisions regulating the Debtor’s actions on

 behalf of other entities. With respect to the CLOs, however, the Operating Protocols generally

 exempt the Debtor from the regular approval process involving the Committee where the Debtor

 acts as portfolio manager for the CLOs. See, e.g., Operating Protocols at § IV(B)(3)(a).

          C.     Recent Asset Sales and the Advisors’ Requests for a Temporary Pause in Sales

          9.     The Court recently approved the Debtor’s Disclosure Statement for the Fifth

 Amended Plan of Reorganization of Highland Capital Management, L.P. (Docket No. 1473)

 (the “Disclosure Statement”).

          10.    The Disclosure Statement discusses the Debtor’s role as portfolio manager for

 the CLOs (which the Disclosure Statement defines as “Issuers”) in Article II(U) (pg. 32). After

 explaining the Debtor’s role and noting some proofs of claim filed by the CLOs, the Disclosure

 Statement states as follows:

          The Issuers have taken the position that the rejection of the Portfolio
          Management Agreements (including any ancillary documents) would result in
          material rejection damages and have encouraged the Debtor to assume such
          agreements. Nonetheless, the Issuers and the Debtor are working in good faith
          to address any outstanding issues regarding such assumption. The Portfolio
          Management Agreements may be assumed either pursuant to the Plan or by
          separate motion filed with the Bankruptcy Court.




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          The Debtor is still assessing its options with respect to the Portfolio Management
          Agreements, including whether to assume the Portfolio Management
          Agreements.

          11.    The Financial Projections attached as Exhibit C to the Disclosure Statement

 make clear that, assuming confirmation of the Debtor’s chapter 11 plan in its current form, the

 Debtor intends to liquidate its remaining assets over the next two years, concluding in December

 2022.

          12.    The Funds and Advisors do not agree with recent sales executed by the Debtor

 in certain CLOs, including sales during the historically light Thanksgiving trading week,

 because the Funds and Advisors view those assets as having greater value if held as long-term

 investments. When the Advisors became aware the Debtor was considering these transactions,

 NexPoint requested that the Debtor not consummate the sales.

          13.    NexPoint has requested in two letters that the Debtor refrain from causing the

 CLOs to sell further assets without prior notice and consent of NexPoint. Counsel to the Funds

 and Advisors has also requested by email that the Debtor agree consensually to temporarily

 suspend further sales of the CLOs’ assets and/or confirm that the Debtor is not presently

 planning further sales in the immediate future. The Debtor has refused these requests.

          D.     HCMLP Decisions Illustrating Its Short-Term Approach

          14.    Consistent with its proposal to liquidate all of its assets by the end of 2022 per

 the Disclosure Statement, HCMLP has engaged in transactions taking a short-term approach to

 value.

          15.    In addition to the sales noted above during Thanksgiving week, during the

 chapter 11 case, the Debtor has directed the disposition of other assets in a manner that suggests

 a focus on quick monetization at the expense of maximizing returns for investors and/or the




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 estate. For example, Debtor-controlled entities sold a collective majority interest in an

 unsecured term loan to OmniMax International, Inc. Other non-Debtor controlled entities,

 advised by the Advisors, were able to secure a substantially better price for their stake in the

 same asset by being willing to hold it and transacting at a later date. Given the Debtor-controlled

 entities large ownership in the unsecured loan, the Advisors believe the Debtor was well-

 positioned to realize a higher price.

          16.    Also, upon information and belief, the Debtor, through its wholly owned

 subsidiary Trussway Holdings, LLC (“Trussway”), consummated a sale transaction where

 Trussway sold a division, SSP Holdings, LLC, in which Trussway had a majority interest. Upon

 information and belief, the sale was conducted without a formal competitive bidding process

 and resulted in a loss of $10 million, despite certain metrics of SSP Holdings, LLC having

 improved materially since it was acquired in 2014.

                                    REQUEST FOR RELIEF

          17.    The Funds and Advisors request that the Court, under Bankruptcy Code

 sections 105(a), 363, and 1107(a) impose a temporary restriction on the Debtor’s ability, as

 portfolio manager, to cause the CLOs to sell assets. The Funds and Advisors request that the

 Court prohibit the Debtor from authorizing any such sales for a period of 30 days, absent further

 order of the Court.

          18.    Bankruptcy Code section 363 governs the Debtor’s use of estate property. 11

 U.S.C. § 363. Section 363 authorizes the Debtor to use that property outside of the ordinary

 course of business “after notice and a hearing,” and in the ordinary course of business without

 notice and a hearing “unless the court orders otherwise . . . .” 11 U.S.C. § 363(b-c). Bankruptcy

 Code section 1107(a) grants the Debtor, as debtor-in-possession, the powers of a chapter 11

 trustee, subject to “such limitations or conditions as the court prescribes . . . .” 11 U.S.C.

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 § 1107(a). And Bankruptcy Code section 105(a) empowers the Court to “issue any order,

 process, or judgment that is necessary or appropriate to carry out the provisions” of the

 Bankruptcy Code. 11 U.S.C. § 105(a).

          19.    Consistent with these powers, the Court implemented the Operating Protocols

 earlier in this case regarding the Debtor’s actions on behalf of other non-debtor entities. Unlike

 where the Debtor directs sales of assets for other entities, however, the Operating Protocols

 generally do not restrict the Debtor’s actions as portfolio manager for the CLOs. See Operating

 Protocols at IV(B)(3)(a). 2 The Funds and Advisors submit that the relief requested does not

 conflict with the Operating Protocols, but to the extent necessary, the Funds and Advisors

 request that the Court modify the Operating Protocols in the limited and temporary way

 requested in this Motion.

          20.    The Funds and Advisors seek this relief to preserve the status quo at the CLOs

 while the Funds and Advisors explore replacing the Debtor as portfolio manager either



 2
  Section IV(B)(3)(a) (Transactions involving entities that the Debtor manages but in which the
 Debtor does not hold a direct or indirect interest)(Operating Requirements)(Third Party
 Transactions: All Stages) provides in full:
          Except (x) as set forth in (b) and (c) below and (y) for any Transaction
          involving a Specified Entity and the sale or purchase by such Specified
          Entity of an asset that is not an obligation or security issued or guaranteed
          by any of the Debtor, a Related Entity or a fund, account, portfolio company
          owned, controlled or managed by the Debtor or a Related Entity, where
          such Transaction is effected in compliance with the collateral management
          agreement to which such Specified Entity is party, any Transaction that
          decreases the NAV of an entity managed by the Debtor in excess of the greater
          of (i) 10% of NAV or (ii) $3,000,000 requires five business days advance notice
          to Committee and if the Committee objects, the burden is on the Debtor to seek
          Court approval, which the Committee agrees may be sought on an expedited
          basis.
 (emphasis added). “Specified Entity” is defined in section I(K) of the Operating Protocols to
 include the CLOs referenced in this Motion.


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 consensually or through the contractual processes laid out in the relevant underlying

 agreements.

          21.    In the Disclosure Statement, the Debtor states that it has not determined if it

 wants to continue to serve as portfolio manager for the CLOs. The Debtor also has not sought

 input from the Funds and Advisers, even though the Funds are among the largest stakeholders

 indirectly and significantly affected by the Debtor’s actions with respect to the CLOs.

          22.    The Advisers Act places a fiduciary duty on investment advisers comprising a

 duty of care and duty of loyalty. See, e.g., SEC Release No. IA-3248, “Commission

 Interpretation Regarding Standard of Conduct for Investment Advisers,” (July 12, 2019). This

 means an adviser, like the Debtor, must, at all times, serve the best interest of its client and not

 subordinate its client’s interest to its own. See id. This combination of care and loyalty

 obligations has been characterized as requiring the investment adviser to act in the “best

 interest” of its client at all times. See SEC v. Tambone, 550 F.3d 106, 146 (1st Cir. 2008)

 (“Section 206 imposes a fiduciary duty on investment advisers to act at all times in the best

 interest of the fund . . . .”); SEC v. Moran, 944 F. Supp. 286, 297 (S.D.N.Y. 1996) (“Investment

 advisers are entrusted with the responsibility and duty to act in the best interest of their

 clients.”).

          23.    Although the Debtor’s nominal “clients” are the CLOs themselves, the true

 parties in interest are the holders of beneficial interests in the CLOs, such as the Funds. Most or

 all of the other layers of CLO interests have been paid out, and the Funds hold either the majority

 or a substantial portion of most of the remaining CLO interests. In these circumstances, the

 Funds and the other preference shareholders are the parties who are economically affected by

 the Debtor’s actions as portfolio manager.




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          24.    The Funds and Advisors believe replacing the Debtor as portfolio manager is

 appropriate in light of the reduced staffing the Debtor anticipates having once the Debtor’s

 chapter 11 plan goes effective. The Funds and Advisors also believe it is appropriate in light of

 the Debtor’s reduced investment time horizon under the chapter 11 plan. As noted above, the

 Debtor intends to liquidate its investments in the next two years. The Funds, on the other hand,

 have a much longer investment time horizon and, as a result, have very different financial

 incentives with respect to their investments. The Funds and Advisors accordingly believe that

 the Funds and the other preference shareholders would be best served by a portfolio manager

 with a similar long-term perspective.

          25.    Upon information and belief, none of the CLOs needs liquidity at the current

 time, as the next quarterly waterfall payments are not due until February 2021. The Funds and

 Advisors accordingly submit that none of the CLOs, the other holders of preference shares and

 notes issued by the CLOs, or the Debtor will be harmed by the temporary restriction proposed

 by this Motion. Notably, the Funds and Advisors are not seeking to restrict the Debtor from

 performing any of its other functions for the CLOs or to modify the Debtor’s compensation

 from the CLOs in any way.

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                                             CONCLUSION

           26.       For the reasons set forth above, the Funds and Advisors respectfully request that

  the Court grant the relief requested in the Motion and such other and further relief as the Court

  deems just and proper.

  Dated:          December 8, 2020
                                                   K&L GATES LLP

                                                   /s/ Artoush Varshosaz
                                                   Artoush Varshosaz (TX Bar No. 24066234)
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                                                   james.wright@klgates.com

                                                   Counsel for Highland Capital Management Fund
                                                   Advisors, L.P., NexPoint Advisors, L.P.,
                                                   Highland Income Fund, NexPoint Strategic
                                                   Opportunities Fund, and NexPoint Capital, Inc.




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                                 CERTIFICATE OF SERVICE

           I hereby certify that on December 8, 2020, I caused the foregoing document to be served
  via first class United States mail, postage prepaid and/or electronic email through the Court’s
  CM/ECF system to the parties that consented to such service, as each are listed in the debtor’s
  service list filed at docket entry 1442, Exhibits A and B.

           This the 8th day of December, 2020
                                                       /s/ Artoush Varshosaz
                                                       Artoush Varshosaz



                             CERTIFICATE OF CONFERENCE

         I hereby certify that on December 7, 2020, I conferred with Mr. Greg Demo, counsel for
  the Debtors, regarding the relief requested in the motion. Mr. Demo informed me that the
  Debtors do not consent to the relief sought in the motion.

           This the 8th day of December, 2020
                                                       /s/ James A. Wright III
                                                       James A. Wright III




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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                       )
  In re:                                               )      Chapter 11
                                                       )
  HIGHLAND CAPITAL MANAGEMENT, L.P.                    )      Case No. 19-34054 (SGJ11)
                                                       )
           Debtors.                                    )      (Jointly Administered)
                                                       )
                                                       )

                              DECLARATION OF DUSTIN NORRIS

           I, Dustin Norris, hereby declare pursuant to 28 U.S.C. § 1746, that the following is true

  and correct.

           1.      I am the Executive Vice President of NexPoint Advisors, L.P. (“NexPoint”).

           2.      I submit this Declaration based on my personal knowledge and information

  supplied to me by other members of NexPoint’s management. I submit this Declaration in support

  of the Motion for Order Imposing Temporary Restrictions on Debtor’s Ability, as Portfolio

  Manager, to Initiate Sales by Non-Debtor CLO Vehicles (the “Motion”) by NexPoint, Highland

  Capital Management Fund Advisors, L.P. (“HCMFA”, and together with NexPoint, the

  “Advisors”), Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint

  Capital, Inc. (together, the “Funds”).

           3.      The Motion concerns the following non-debtor investment vehicles: Aberdeen

  Loan Funding, Ltd., Brentwood CLO, Ltd., Eastland CLO, Ltd., Gleneagles CLO, Ltd., Grayson

  CLO, Ltd., Greenbriar CLO, Ltd., Jasper CLO, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd.,

  Rockwall CDO, Ltd., Rockwall CDO II Ltd., Southfork CLO, Ltd., Stratford CLO Ltd., Loan

  Funding VII, LLC, and Westchester CLO, Ltd. (collectively, the “CLOs”).



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           4.     The Funds each hold interests in the CLOs.

           5.     The CLOs are securitization vehicles formed to acquire and hold pools of debt

  obligations. They also issued various tranches of notes and preference shares, which are intended

  to be repaid from proceeds of the subject CLO’s pool of debt obligations. The notes issued by the

  CLOs are paid according to a contractual waterfall, with the value remaining in the CLO after the

  notes are fully paid flowing to the holders of the preference shares.

           6.     The CLOs were created many years ago. Most of the CLOs are, at this point, past

  their reinvestment period and have paid off all the tranches of notes or, in a few instances, all but

  the last and most junior tranche. Accordingly, most of the economic value remaining in the CLOs,

  and all of the upside, belongs to the holders of the preference shares. The repayment status of the

  notes in the CLOs as of November 2020 is shown on Exhibit A hereto, and the Funds’ collective

  ownership of the preference shares is shown on Exhibit B hereto.

           7.     The CLOs have each separately contracted for Highland Capital Management, L.P.

  (the “Debtor”) to serve as the CLO’s portfolio manager. The title given to the Debtor by the CLOs

  varies from CLO to CLO based on the relevant agreements, but the Debtor has the same general

  rights and obligations for each CLO. In this capacity, the Debtor is responsible, among other

  things, for making decisions to sell the CLOs assets. Although the portfolio management

  agreements vary, the agreements generally impose a duty on the Debtor when acting as portfolio

  manager to maximize the value of the CLO’s assets for the benefit of the CLO’s noteholders and

  preference shareholders.

           8.     During the chapter 11 case, the Debtor has directed the disposition of other assets

  in a manner that suggests a focus on quick monetization at the expense of maximizing returns for

  investors and/or the estate. For example, Debtor-controlled entities sold a collective majority



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  interest in an unsecured term loan to OmniMax International, Inc. Other non-Debtor controlled

  entities, advised by the Advisors, were able to secure a substantially better price for their stake in

  the same asset by being willing to hold it and transacting at a later date. Given the Debtor-

  controlled entities large ownership in the unsecured loan, the Advisors believe the Debtor was

  well-positioned to realize a higher price.

           9.     Also, upon information and belief, the Debtor, through its wholly owned subsidiary

  Trussway Holdings, LLC (“Trussway”), consummated a sale transaction where Trussway sold a

  division, SSP Holdings, LLC, in which Trussway had a majority interest. Upon information and

  belief, the sale was conducted without a formal competitive bidding process and resulted in a loss

  of $10 million, despite certain metrics of SSP Holdings, LLC having improved materially since it

  was acquired in 2014.

           10.    The Advisors did not agree with the Debtor’s decision to execute recent sales for

  certain of the CLOs, because the Advisors viewed those assets as having greater value if held as

  long-term investments. When the Advisors became aware the Debtor was considering these

  transactions, NexPoint requested that the Debtor not consummate the sales.

           11.    Upon information and belief, none of the CLOs need liquidity at the current time,

  as the next quarterly waterfall payments are not due until February 2021.

         I declare under the penalty of perjury under the laws of the United States that the
  foregoing is true and correct.

           Executed this 8th day of December, 2020, in Allen, Texas,



                                                By:
                                                          Dustin Norris




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                                   CLO Note Repayment Status1

  Aberdeen Loan Funding, Ltd.

                 Security                   CUSIP               Remaining Balance
      Class A Notes                       00306LAA2                                 $0
      Class B Notes                       00306LAB0                                 $0
      Class C Notes                       00306LAC8                                 $0
      Class D Notes                       00306LAD6                                 $0
      Class E Notes                       00306MAA0                                 $0
      Class I Preference Shares           00306M201                     $12,000,000.00
      Class II Preference Shares          00306M300                     $36,000,000.00

  Brentwood CLO, Ltd.

                 Security                    CUSIP              Remaining Balance
      Class A-1A Notes                    107265AA8                                 $0
      Class A-1B Notes                    107265AM2                                 $0
      Class A-2 Notes                     107265AC4                                 $0
      Class B Notes                       107265AE0                                 $0
      Class C Notes                       107265AG5                                 $0
      Class D Notes                       107265AK5                     $10,279,258.35
      Class I Preference Shares            107264202                    $34,400,000.00
      Class II Preference Shares           107264400                    $37,000,000.00

  Eastland CLO, Ltd.

                 Security                    CUSIP              Remaining Balance
      Class A-1 Notes                     277345AA2                                 $0
      Class A-2a Notes                    277345AC8                                 $0
      Class A-2b Notes                    277345AE4                                 $0
      Class A-3 Notes                     277345AG9                                 $0
      Class B Notes                        277345AJ3                                $0
      Class C Notes                       277345AL8                                 $0
      Class D Notes                       27734AAA1                      $3,251,287.27
      Class I Preference Shares           27734A202                     $85,000,000.00
      Class II Preference Shares          27734A400                     $38,500,000.00




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  Gleneagles CLO, Ltd.

             Security                   CUSIP                 Remaining Balance
   Class A-1 Notes                                                                 $0
   Class A-2 Notes                                                                 $0
   Class B Notes                                                                   $0
   Class C Notes                                                                   $0
   Class D Notes                                                                   $0
   Class 1 Combination Notes                                                       $0
   Class 2 Combination Notes                                                       $0
   Preference Shares            37866PAB5 & G39165AA6                  $91,000,000.00

  Grayson CLO, Ltd.

              Security                  CUSIP                 Remaining Balance
   Class A-1a Notes                   389669AA0                                    $0
   Class A-1b Notes                   389669AB8                                    $0
   Class A-2 Notes                    389669AC6                                    $0
   Class B Notes                      389669AD4                                    $0
   Class C                            389669AE2                                    $0
   Class D                            389668AA2                         $9,011,534.74
   Class I Preference Shares          389669203                        $52,500,000.00
   Class II Preference Shares         389669302                        $75,000,000.00

  Greenbriar CLO, Ltd.

              Security                  CUSIP                 Remaining Balance
   Class A Notes                      393647AA0                                    $0
   Class B Notes                      393647AB8                                    $0
   Class C Notes                      393647AC6                                    $0
   Class D Notes                      393647AD4                                    $0
   Class E Notes                      39364PAA0                                    $0
   Class I Preference Shares          39364P201                        $20,000,000.00
   Class II Preference Shares         39364P300                        $60,000,000.00

  Jasper CLO, Ltd.

             Security                   CUSIP                 Remaining Balance
   Class A Notes                                                                   $0
   Class B Notes                                                                   $0
   Class C Notes                                                                   $0
   Class D-1 Notes                                                                 $0
   Class D-2 Notes                                                                 $0
   Preference Shares                   471315200                       $70,000,000.00



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  Liberty CLO, Ltd.

             Security                   CUSIP                 Remaining Balance
   Class A-1a Notes                                                                $0
   Class A-1b Notes                                                                $0
   Class A-1c Notes                                                                $0
   Class A-2 Notes                                                                 $0
   Class A-3 Notes                                                                 $0
   Class A-4 Notes                                                                 $0
   Class B Notes                                                                   $0
   Class C Notes                                                                   $0
   Class Q-1 Notes                                                                 $0
   Class P-1 Notes                                                                 $0
   Class E Certificates         EP0175232 & 530360205                  $94,000,000.00

  Red River CLO, Ltd.

              Security                  CUSIP                 Remaining Balance
   Class A Notes                      75686VAA2                                    $0
   Class B Notes                      75686VAB0                                    $0
   Class C Notes                      75686VAC8                                    $0
   Class D Notes                      75686VAD2                                    $0
   Class E Notes                      75686XAA8                                    $0
   Class I Preference Shares          75686X209                        $36,000,000.00
   Class II Preference Shares         75686X308                        $45,000,000.00

  Rockwall CDO, Ltd.

              Security                  CUSIP                 Remaining Balance
   Class A-1LA Notes                  774262AA7                                    $0
   Class A-1LB Notes                  774262AB5                                    $0
   Class A-2L Notes                   774262AC3                                    $0
   Class A-3L Notes                   774262AD1                                    $0
   Class A-4L Notes                   774262AE9                                    $0
   Class B-1L Notes                   774262AF6                                    $0
   Class X Notes                      774262AG4                                    $0
   Class I Preference Shares          774272207                        $33,200,000.00
   Class II Preference Shares         774261127                        $45,000,000.00




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  Rockwall CDO II Ltd.

              Security                   CUSIP                Remaining Balance
   Class A-1LA Notes                  77426NAA1                                    $0
   Class A-1LB Notes                  77426NAB9                                    $0
   Class A-2L Notes                   77426NAC7                                    $0
   Class A-3L Notes                   77426NAD5                                    $0
   Class B-1L Notes                   77426NAE3                                    $0
   Class B-2L Notes                   77426RAA2                         $9,838,508.11
   Class I Preference Shares           77426R203                       $42,200,000.00
   Class II Preference Shares          77426R401                       $44,000,000.00

  Southfork CLO, Ltd.

             Security                   CUSIP                 Remaining Balance
   Class A-1a Notes                                                                $0
   Class A-1b Notes                                                                $0
   Class A-1g Notes                                                                $0
   Class A-2 Notes                                                                 $0
   Class A-3a Notes                                                                $0
   Class B Notes                                                                   $0
   Class C Notes                                                                   $0
   Preference Shares                   84427P202                       $80,200,000.00
   Class I Composite Note                                               $2,000,000.00

  Stratford CLO Ltd.

              Security                  CUSIP                 Remaining Balance
   Class A-1 Notes                    86280AAA5                                    $0
   Class A-2 Notes                    86280AAC1                                    $0
   Class B Notes                      86280AAD9                                    $0
   Class C Notes                      86280AAE7                                    $0
   Class D Notes                      86280AAF4                                    $0
   Class E Notes                      86280AAG2                                    $0
   Class I Preference Shares          86280A202                        $17,500,000.00
   Class II Preference Shares         86280A301                        $45,500,000.00




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  Loan Funding VII, LLC (aka Valhalla)

              Security                     CUSIP              Remaining Balance
   Class A-1-A Notes
   Class A-2 Notes
   Class B Notes
   Class C-1 Notes
   Class C-2 Notes
   Class I Preference Shares             91914QAA4                     $82,000,000.00

  Westchester CLO, Ltd.

              Security                      CUSIP             Remaining Balance
   Class A-1-A Notes                     95736XAA6                                 $0
   Class A-1-B Notes                     95736XAB4                                 $0
   Class B Notes                         95736XAD0                                 $0
   Class C Notes                         95736XAE8                                 $0
   Class D Notes                         95736XAF5                                 $0
   Class E Notes                         95736XAG3                      $9,141,575.05
   Class I Preference Shares              95736T206                    $80,000,000.00




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                               Holdings of Preference Shares1 in CLOs


             CLO                HIF                NSOF          NC       Total
      Aberdeen                  0%                 30.21%         0%     30.21%
      Brentwood                 0%                 40.06%         0%     40.06%
      Eastland                31.16%               10.53%         0%     41.69%
      Gleneagles               9.74%                8.52%         0%     18.26%
      Grayson                 49.10%               10.75%       0.63%    60.48%
      Greenbriar                0%                 53.44%         0%     53.44%
      Jasper                    0%                 17.86%         0%     17.86%
      Liberty                   0%                 10.64%         0%     10.64%
      Red River                 0%                 10.49%         0%     10.49%
      Rockwall                 6.14%               19.57%         0%     25.71%
      Rockwall II             14.56%                5.65%         0%     20.21%
      Southfork                 0%                  7.30%         0%      7.30%
      Stratford                 0%                 69.05%         0%     69.05%
      Loan Funding VII          0%                  1.83%         0%
                                                                          1.83%
      (aka Valhalla)
      Westchester                0%                44.38%        0%      44.38%




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      Class E Certificates for Liberty CLO, Ltd.


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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                                   )
  In re:                                                           )        Chapter 11
                                                                   )
  HIGHLAND CAPITAL MANAGEMENT, L.P.                                )        Case No. 19-34054 (SGJ11)
                                                                   )
             Debtors.                                              )        (Jointly Administered)
                                                                   )
                                                                   )

              ORDER GRANTING MOTION FOR ORDER IMPOSING TEMPORARY
                  RESTRICTIONS ON DEBTOR’S ABILITY, AS PORTFOLIO
              MANAGER, TO INITIATE SALES BY NON-DEBTOR CLO VEHICLES

             Upon the Motion (the “Motion”), 1 filed by Highland Capital Management Fund

  Advisors, L.P. (“HCMFA”) and NexPoint Advisors, L.P. (“NexPoint,” and together with

  HCMFA, the “Advisors”), and Highland Income Fund, NexPoint Strategic Opportunities Fund,

  and NexPoint Capital, Inc. (together, the “Funds”), seeking an order, pursuant to sections

  105(a), 363, and 1107 of the Bankruptcy Code, imposing temporary restrictions on the Debtor’s




  1
      Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.


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  ability to initiate sales as portfolio manager (or other similar capacity) for certain non-debtor

  investment




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  vehicles (the “CLOs”); and upon the Declaration of Dustin Norris (the “Declaration”); and the

  Court, having reviewed the Motion and the Declaration; and due and sufficient notice of the

  Motion having been given; and it appearing that no other or further notice need be provided; and

  upon the record before the Court; and a hearing having been held on the Motion; and it appearing

  to the Court that good cause exists to grant the relief requested by the Motion;

           IT IS HEREBY ORDERED THAT:

           1.     The Motion is GRANTED as set forth herein.

           2.     For a period of thirty days, commencing on the date hereof, the Debtor, in its

  capacity as portfolio manager or such other similar role with respect to the CLOs, is hereby

  prohibited from causing the CLOs to engage in any asset sales until January ___, 2021.

           3.     The Court shall retain jurisdiction over all matters involving the enforcement,

  implementation and interpretation of this Order.

                                    # # # END OF ORDER # # #

  Submitted by:

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  Counsel for Highland Capital Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., Highland Income Fund, NexPoint
  Strategic Opportunities Fund, and NexPoint Capital, Inc.




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